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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                 Southern District
                                                __________         of of
                                                            District  New   York
                                                                         __________

                        Debora Young                             )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                      Civil Action No.
                                                                 )
THE YOUNG WOMEN’S CHRISTIAN ASSOCIATION                          )
        OF THE CITY OF NEW YORK                                  )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION
                                       THE YOUNG WOMEN’S CHRISTIAN ASSOCIATION OF THE CITY OF NEW YORK
To: (Defendant’s name and address)
                                       50 Broadway, 22nd Floor
                                       New York, NY 10004




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
                                David Zevin, Esq.
whose name and address are:
                                       55 Cedar Drive
                                       Roslyn, NY 11576




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:             06/17/2025                                                                 /s/ J. Gonzalez
                                                                                      Signature of Clerk or Deputy Clerk
